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                  EXHIBIT B
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              INTERNATIONAL CHAMBER OF COMMERCE
               INTERNATIONAL COURT OF ARBITRATION



                    GOOGLE INC. (U.S.A.), as successor to
                      DOUBLECLICK INC. (U.S.A.)
                                  Claimant,
                                     v.

                   DOUBLECLICK JAPAN, INC. (Japan),
                                 Respondent.

   ________________________________________________________________

                          REQUEST FOR ARBITRATION
   ________________________________________________________________

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Dated: November 4, 2008
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         Claimant Google Inc. (“Google”), as successor-in-interest (by merger) to DoubleClick

Inc. (“DoubleClick”), respectfully submits this Request for Arbitration to enforce its rights

against DoubleClick Japan, Inc. (“DCJ”) under the parties’ Second Amended and Restated

DART Agreement dated November 25, 2002, as amended (the “2002 DART Agreement”), a

true and correct copy of which is annexed hereto as Exhibit 1.

I.       INTRODUCTION
         1.        This is an arbitration for breach of contract. Google seeks (a) money damages

arising from DCJ’s material breaches of its non-compete and good faith obligations under the

2002 DART Agreement, (b) injunctive relief to prevent irreparable harm that would result

from DCJ’s expected refusal to comply with Google’s planned termination of the 2002 DART

Agreement and (c) an award of costs, including attorneys’ fees.

         2.        Google, as successor-in-interest to DoubleClick, and DCJ are parties to several

agreements related to the license, sale, use and support of certain website advertising

technology known as DART. The DART Technology,1 as it has been termed, was developed
by DoubleClick in the 1990s and in turn licensed to companies in the United States and across

the globe, including DCJ, which was originally a joint venture between DoubleClick and

several Japanese companies and is now controlled by Trans Cosmos, Inc. (“TCI”), a Japanese

corporation. The DART Technology provides a comprehensive advertising service platform

that gives website operators (publishers) and advertisers the ability to track and analyze web
traffic to deliver targeted advertisements to the right audience.

         3.        Although the relationship between DCJ and DoubleClick has evolved over
time through a number of agreements, the core of their relationship has remained constant:

DoubleClick has licensed the DART Technology to DCJ and given DCJ the “exclusive” right

1
    DART Technology is defined in the 2002 DART Agreement to include “(i) the Service[]and the System and shall mean
the technology developed by DoubleClick for the targeted delivery, measurement and reporting of advertisements to Web
sites, and (ii) the DARTmail Service and DoubleClick’s DARTmail System and shall mean the technology developed by
DoubleClick for targeted delivery of email campaigns from DoubleClick’s servers to marketers’ Lists and measurement and
reporting thereof. The term DART Technology includes, without limitation, any and all, (1) of the DART Technology
Products, (2) technology, know-how and other technical information owned or used by DoubleClick as part of the DART
Technology, (3) all information, products and processes necessary for the operation of the DART Technology, (4) Upgrades,
and (5) Related Products. DART Technology specifically excludes [DCJ’s] proprietary product branded as “Infomail.”
(2002 DART Agreement § 1(21)).


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to enter into DART Technology service agreements with DCJ’s customers, and in return, DCJ

has agreed, among other things, that it would not directly or indirectly “engage in activities

competitive with DoubleClick or any of its Affiliates outside Japan and inside Japan with

respect to activities of DoubleClick.” (2002 DART Agreement § 16). DCJ has further agreed

that the DART Technology service would be the only service DCJ would use “in connection

with the delivery and management of advertising by [DCJ] through the DoubleClick Japan

Network” and that it would use “no other technology, software or other services . . . for said

delivery and management of such advertising. . . .” (2002 DART Agreement § 2). In other

words, at the core of their relationship was a mutual exclusivity that DoubleClick and DCJ

agreed to honor.

         4.        For several years, DCJ enjoyed the benefits of marketing, selling and

managing the DART Technology. Indeed, DCJ prospered and its customer base grew as

DoubleClick’s exclusive DART Technology reseller in Japan. The DoubleClick Japan

Network, which consisted of a collection of high quality web sites in Japan, continued to

grow. It was through this network that DCJ helped publishers and advertisers in Japan build

relationships with their target audience. Through the DoubleClick Japan Network and the

DART Technology, DCJ also made headway into mobile web sites.

         5.        Unfortunately for DoubleClick, although it held up its end of the bargain by

providing the DART Technology to DCJ, DCJ failed to live up to its promises not to compete

with DoubleClick and to use only DART Technology for the delivery and management of

advertising through the DoubleClick Japan Network.2

         6.        By around early 2006, DoubleClick had begun development of technology for

mobile web content providers and advertisers that would be fully integrated with the DART

Technology. DoubleClick Mobile, as it was named, was intended to help publishers and

advertisers manage and report on the effectiveness of their mobile web advertising efforts.

         7.        DCJ was involved, in the early stages, in the development of DoubleClick

2
  In fact, the current dispute is not the first time DCJ has run afoul of the non-competition provision of the 2002 DART
Agreement. Earlier this year, the parties agreed to settle a dispute over DCJ’s use of a product competitive with a DART
Technology known as “DARTmail.”


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Mobile and DoubleClick provided DCJ with a test copy of the software, which DCJ used until

at least February 22, 2008.

       8.      However, despite DCJ’s participation in the development of DoubleClick

Mobile and its obligations under the 2002 DART Agreement, DCJ never accepted

DoubleClick’s offers to license DoubleClick Mobile. Instead, in direct violation of its

obligations under the 2002 DART Agreement, DCJ embarked on a plan to develop, market,

distribute and promote its own ad service for mobile web content providers and advertisers.

DCJ contracted with a third party and began to develop a mobile advertising service called

Mobile MK and Mobile MK Analytics.

       9.      According to information from DCJ, Mobile MK helps users create web

content, promote their site, monitor traffic and gather information from visitors and cross-

promote to these visitors based on their usage information. In short, Mobile MK is a service

used in connection with the management and delivery of advertisements and promotions for

web site operators (publishers). On information and belief, Mobile MK is used in connection

with DCJ’s affiliates in the DoubleClick Japan Network.

       10.     In addition to Mobile MK, DCJ also developed and began distributing another

mobile ad system to its customers, also in direct violation of DCJ’s obligations under the 2002

DART Agreement. DCJ also acquired additional mobile web advertising and marketing

technology known as Mo-on that DCJ markets to its customers. (MK Mobile, MK Mobile

Analytics, Mo-on and the related ad delivery technology will be referred to collectively as the

“DCJ Mobile Products”). Finally, DCJ has made direct overtures to a competing mobile ad

network company about partnering on mobile advertising solutions for DCJ’s customers.

       11.     DCJ’s marketing and sale of the DCJ Mobile Products and its efforts to partner

with a competing mobile ad network company are direct violations of its obligations under the

2002 DART Agreement and material breaches of the non-competition provisions and the

implied covenant of good faith and fair dealing. Moreover, by refusing to market and sell

DoubleClick Mobile in Japan, DCJ blocked the introduction of a mobile DART Technology

into the Japan market thereby depriving DoubleClick (now Google) of the benefits it expected


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to receive under the 2002 DART Agreement.

        12.    Pursuant to the terms of the 2002 DART Agreement, on October 1, 2008,

Google sent DCJ written notice of the breach. Google notified DCJ that it intended to

terminate pursuant to section 10 of the 2002 DART Agreement, absent cure by DCJ. Section

10 permits termination, absent cure, thirty-business-days after delivery of a breach notice.

        13.    On October 3, 2008, DCJ invoked the dispute resolution provisions of the 2002

DART Agreement and called for a meeting with Google in Tokyo. The parties met on

October 16, 2008, the date requested by DCJ, but were unable to reach a resolution.

        14.    Despite the unambiguous provisions of the 2002 DART Agreement and DCJ’s

blatant breaches, DCJ has continued to refuse to acknowledge that the DCJ Mobile Products

compete with DoubleClick Mobile and has actively sought to block Google from exercising

its contractual right to terminate. On October 29, 2008, DCJ obtained ex parte an Order to

Show Cause, in New York State Supreme Court, seeking to enjoin Google from terminating

the 2002 DART Agreement. Following a hearing in court on October 31, 2008, the court is

set to hear DCJ’s injunction application on November 17, 2008.

        15.    Google has been harmed and continues to suffer harm as a result of DCJ’s

breaches of the non-competition provision and related provisions of the 2002 DART

Agreement and the implied covenant of good faith and fair dealing as well as DCJ’s refusal to

acknowledge Google’s right to terminate the 2002 DART Agreement as a result of those

breaches.

        16.    Accordingly, Google is entitled to an award of damages to compensate for the

harm caused by DCJ’s material breaches. Google is also entitled to an award enjoining DCJ

from continuing activities under the 2002 DART Agreement, once that agreement is

terminated. Finally, Google requests an award of the costs of arbitration, including attorneys’

fees.

II.     THE PARTIES
        17.    Claimant Google is a corporation organized and existing under the laws of the

State of Delaware with its principal place of business at 1600 Amphitheatre Parkway,


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Mountain View, California 94043, USA. Google is successor-in-interest to DoubleClick,

which was acquired by Google in a statutory merger that closed in March 2008 and is now a

division of Google.

         18.   Respondent DCJ is a corporation organized under the laws of Japan. DCJ has

its address at 3F, Sumitomo Oimachi Bldg. (North) 1-20-6, Oi, Shinagawa-ku, Tokyo, 140-

0014, Japan.

III.     THE ARBITRATION AGREEMENT
         19.   The 2002 DART Agreement’s arbitration provision provides, in relevant part,

as follows:

               Any dispute hereunder (“Dispute”) shall be resolved as set forth
               in this Section 20. Each party shall give written notice to the
               other party of any dispute claimed by such party (“Disputing
               Party”). Promptly upon delivery of such notice, such Dispute
               Party or a designated senior officer of such Disputing Party, as
               applicable, shall meet with the other party in Tokyo, Japan, and
               attempt in good faith to resolve the Dispute. If such persons are
               unable to resolve the Dispute within thirty (30) days after
               delivery of the written notice, then the Dispute shall be settled
               through binding arbitration at the request of either party
               (“Arbitrating Party”). If the Arbitrating Party is DoubleClick,
               then arbitration shall be conducted in Tokyo, Japan, in the
               English language in accordance with the arbitration rules of the
               International Chamber of Commerce. If the Arbitrating Party is
               [DCJ], then arbitration shall be conducted in New York City,
               New York, U.S.A., in the Japanese language in accordance with
               the arbitration rules of the International Chamber of Commerce.
               The arbitration shall be conducted before a single arbitrator
               selected by both Parties. . . .
               Upon conclusion of any arbitration proceedings hereunder, the
               arbitrator shall render findings of fact and conclusions of law
               and a written opinion setting forth the basis and reasons and for
               any decision reached by such arbitrator. Such arbitrator shall
               deliver or have delivered such documents to each Party and to
               the other parties along with a signed copy of the award. Any
               judgment upon the award rendered by the arbitrator may be
               entered in any court having jurisdiction of the subject matter
               thereof. The arbitrator shall have the authority to grant any
               equitable and legal remedies that would be available in any
               judicial proceeding institute to resolve a Dispute. Except as
               specifically otherwise provided in this Agreement, arbitration
               shall be the sole and exclusive remedy of the parties for any
               Dispute arising out of this Agreement.
(2002 DART Agreement § 20).



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        A.     Place and Language of the Arbitration
        20.    Because Google has submitted this Request for Arbitration, the place of

arbitration shall be Tokyo, Japan and English shall be the language of the arbitration. (2002

DART Agreement § 20).

        B.     Applicable Rules
        21.    The Rules of Conciliation and Arbitration of the International Chamber of

Commerce (“ICC Rules”) shall be the applicable rules of the arbitration. (Id.).

        C.     Applicable Law
        22.    Pursuant to section 20 thereof, the 2002 DART Agreement is “governed by the

laws of New York, without reference to its conflict of laws rules or principles.” (Id.).

        D.     Appointment of the Arbitrator
        23.    Section 20 of the 2002 DART Agreement provides that the arbitration shall be

conducted before a sole arbitrator selected by both parties. Google shall consult with DCJ to

reach agreement on the nomination of an arbitrator. Should the parties fail to agree on the

nomination, Google shall request that the Secretariat appoint an arbitrator pursuant to, and

consistent with, Article 8(3) and Article 9(5) of the ICC Rules.

IV.     NATURE AND CIRCUMSTANCES OF THE PARTIES’ DISPUTE

        A.     DoubleClick’s Internet Advertising Technology
        24.    DoubleClick was incorporated in January 1996. Within months, DoubleClick

began selling ads to a network of web sites; it also continued to develop its website

advertising technology. By 1997, DoubleClick had completed development of, and

introduced to the marketplace, a sophisticated website advertising system called DART

(Dynamic Advertising Reporting and Targeting). This new DART Technology enabled web

site operators (publishers) and advertisers to track web browsing activity and analyze that

activity so that advertisements could be targeted to web users based on their browsing history.

As a result of its innovative technology, DoubleClick quickly became one of the leading

internet advertising companies in an ever growing field.




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       B.       DCJ Is Formed and Becomes DoubleClick’s Licensee in Japan
       25.      Following the development and rollout of DART, DoubleClick began efforts

to expand globally. Among the countries DoubleClick entered were Canada, the United

Kingdom and Japan. In Japan, DoubleClick entered into a joint venture with three Japanese

companies to form DoubleClick Japan. That joint venture was memorialized on August 18,

1997 in a Joint Venture Agreement between DoubleClick, TCI, Nippon Telegraph &

Telephone Corporation (“NTT”), and NTT Advertising Inc. (“NTTAD”).

       26.      In September 1997, a month after the Joint Venture agreement was executed,

DCJ entered into a License, Service and Network Agreement with DoubleClick (the

“September 1997 License Agreement”), a true and correct copy of which is annexed hereto as

Exhibit 2. Among other things, that agreement provided DCJ with “an exclusive license and
right to use the DART Technology in the DCJ Territory [Japan] for purposes of the targeted

delivery, measurement and reporting of Advertising of Advertisers to web sites.” (September

1997 License Agreement § 3.1(1)). DART Technology was defined, in relevant part, as “the

technology acquired or developed by Licensor [DoubleClick] for the targeted delivery,

measurement and reporting of Advertising to web sites . . . .” (Id. at Art. 1).

       C.       The Parties’ Relationship Between September 1997 and November 2002
       27.      From September 1997 until November 2002, DoubleClick and DCJ’s

relationship evolved through a series of agreements and amendments. For example, on May 8,

2000, DoubleClick and TCI entered into a Shareholders Agreement that terminated the Joint

Venture Agreement and reconstituted DCJ in preparation for an initial public offering of

DCJ’s shares.

       28.      In addition, on July 10, 2000, DoubleClick and DCJ entered into an agreement

called the “DART Agreement” (the “July 2000 DART Agreement”), which set forth the terms

and conditions of DCJ’s license and rights to the DART technology. A true and correct copy

of the July 2000 DART Agreement is annexed hereto as Exhibit 3. The July 2000 DART

Agreement, which effectively supplanted the September 1997 License Agreement, provided

DCJ with rights to use DART Services related to the DART Technology.


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        29.    Under the agreement, DCJ agreed that the DART Services “shall be the only

service used in connection with the delivery and management of Advertising by [DCJ] though

the DoubleClick Japan Network and no other technology, software or other services shall by

used by [DCJ] for said delivery and management of such Advertising.” (July 2000 DART

Agreement, § 2). The July 2000 DART Agreement was amended on at least two occasions,

once in 2000 and again in 2001.

        D.     The Second Amended and Restated DART Agreement
        30.    On November 25, 2002, DoubleClick and DCJ entered into another series of

agreements that further reshaped the parties’ relationships. Pursuant to a Tender Offer

Agreement and an Amended and Restated Shareholders Agreement, TCI gained a majority

voting interest over DCJ (which previously had been lost following sales of stock pursuant to

the planned initial public offering). True and correct copies of the Tender Offer Agreement

and the Restated Shareholders Agreement are annexed hereto, respectively, as Exhibits 4 and
5. As a result of these agreements, DoubleClick’s ownership interest in DCJ was sharply

reduced.

        31.    On the same day, DoubleClick and TCI entered into a Non-Compete

Agreement, a true and correct copy of which is annexed hereto as Exhibit 6. Among other

things, the Non-Compete Agreement prohibited DCJ from “Dealing in products directly

competitive with the DCJ Technology Suite,” which was defined to include “DART
Products” and certain “Related Products” to DART Products. (Non-Compete Agreement §

1.1).
        32.    Most importantly, for purposes of this arbitration, on November 25, 2002,

DoubleClick and DCJ executed the 2002 DART Agreement.
        33.    Like the definition contained in predecessor agreements, the 2002 DART

Agreement defined “DART Technology” to include, in relevant part, “the technology

developed by DoubleClick for the targeted delivery, measurement and reporting of

advertisements to Web sites.” (2002 DART Agreement § 1(21)). The term “DART

Technology” was further defined to include, “without limitation, any and all, (1) of the DART


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Technology Products, (2) technology, know-how and other technical information owned or

used by DoubleClick as part of the DART Technology, (3) all information, products and

processes necessary for the operation of the DART Technology, (4) Upgrades, and (5)

Related Products.” (Id.).

          34.       The Agreement granted DCJ a right “to use the Service3 in connection with

delivery of advertisements of Japanese Advertisers to the DoubleClick Japan Network” and

the “exclusive right to enter into service agreements with DART Clients4 . . . to make the

Service available to such DART Clients for the purposes of enabling them to deliver

advertising to Web sites.” (2002 DART Agreement §§ 2, 6(a)).

                    1.        DCJ’s Non-Compete and Related Obligations under the 2002 DART
                              Agreement
          35.       Section 16 of the 2002 DART Agreement prohibits DCJ from engaging in

activities competitive with DoubleClick:

                    Neither [DCJ] nor any of [DCJ’s] Affiliates will, directly or
                    indirectly, engage in activities competitive with DoubleClick or
                    any of its Affiliates outside Japan and inside Japan with respect
                    to activities of DoubleClick or any of its Affiliates so long as
                    [DCJ is] using or [has] the right to use the “DoubleClick” trade
                    name or mark.
(Id. § 16).

          36.       The 2002 DART Agreement also imposes certain related exclusivity

obligations and restrictions on DCJ. For example, section 2 of the DART Agreement,
provides that “the Service5 shall be the only service used in connection with the delivery and

management of advertising by [DCJ] through the DoubleClick Japan Network and no other
technology, software or other services shall be used by [DCJ].”

          37.       The “DoubleClick Japan Network” is defined as:

3
  “Service” is defined as "a service provided, through the use of the DART Technology, by DoubleClick for targeted and
measured delivery of ad banners from DoubleClick's servers to the Web sites." (2002 DART Agreement § 1(48)).
4
   “DART Clients” is defined to mean “any DCJ client which is or becomes a consumer of a DART Technology Product in
the Territory, which, (i) with respect to publishers, shall mean publishers whose primary place of business is in the Territory,
and (ii) with respect to advertisers, shall mean advertisers which are, or whose agents are, invoiced in the Territory, and (iii)
with respect to agencies, shall mean agencies which are invoiced in the Territory, and including Japanese Publishers,
Japanese Agencies and Japanese Advertisers.” (Id. § 1(19)).
5
   See supra n. 3.


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                    the network of Web sites commonly referred to as the
                    DoubleClick Japan Network and all successor networks thereto
                    and any alternative or additional networks created by [DCJ] or
                    one or more of [DCJ’s] Affiliates, which includes but is not
                    limited to all Web sites owned, Controlled or operated by [DCJ]
                    or one or more of [DCJ’s] Affiliates, or for which [DCJ] or one
                    of [DCJ’s] Affiliates perform ad sale and Representation
                    services . . .
(Id. § 1(32)). The DoubleClick Japan Network was first launched at the time of DCJ’s

formation and consists of Japanese web content providers (publishers) and advertisers who

work with DCJ and DCJ’s affiliates.

           38.      In addition, Section 3 of the DART Agreement provides that “[w]ith respect to

the DoubleClick Japan Network, [DCJ] and DoubleClick understand that [DCJ is] required to

use DoubleClick's proprietary System6 in order to receive the Service.”

                    2.        The 2002 DART Agreement’s Termination Provision
           39.      The 2002 DART Agreement provides that it may be terminated if a party

materially breaches the agreement and then fails to cure the breach within thirty business days

of delivery of a notice of breach:

                    This Agreement may be terminated . . . thirty (30) Business
                    Days after a party’s notice to the other party that such other
                    party is in material breach hereunder, unless the other party
                    cures such breach within said thirty (30) day period . . . .
(Id. §10). Notably, if the material breach has not been cured after the thirty-day cure period,

the Agreement permits the non-breaching party to terminate without any further requirements

or conditions.

                    3.        The 2002 DART Agreement’s Dispute Resolution Provision
           40.      The 2002 DART Agreement provides for all disputes to be resolved as

follows:

                    Any dispute hereunder (“Dispute”) shall be resolved as set forth
                    in this Section 20. Each party shall give written notice to the
                    other party of any dispute claimed by such party (“Disputing
                    Party”). Promptly upon delivery of such notice, such Dispute
                    Party or a designated senior officer of such Disputing Party, as

6
    “System” is defined as "DoubleClick's proprietary ad management system software technology." (Id. § 1(50)).



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               applicable, shall meet with the other party in Tokyo, Japan, and
               attempt in good faith to resolve the Dispute. If such persons are
               unable to resolve the Dispute within thirty (30) days after
               delivery of the written notice, then the Dispute shall be settled
               through binding arbitration at the request of either party
               (“Arbitrating Party”).
(Id. § 20).

               4.     The March 26, 2008 Addendum to the Agreement
        41.    On March 26, 2008, following a dispute that arose out of DCJ’s use of a

product that was competitive with a DART Technology known as DARTmail, in violation of

the non-competition provision of the 2002 DART Agreement, DoubleClick and DCJ entered

into an Addendum to that agreement (the “Addendum”), which amended the non-competition

clause as follows:

               Neither [DCJ] nor any of [DCJ’s]Affiliates will, directly or
               indirectly, engage in activities competitive with DoubleClick or
               any of its Affiliates outside Japan and inside Japan with respect
               to activities of DoubleClick or any of its Affiliates so long as
               [DCJ is] using or [has] the right to use the “DoubleClick” trade
               name or mark except that [DCI] and [DCI’s] Affiliates shall be
               free to compete with DoubleClick or any of its Affiliates with
               respect to the provision of email services, and specifically with
               respect to DART mails (a/k/a DREAMmail), both inside and
               outside Japan.
(Addendum § 3). A true and correct copy of the Addendum is annexed hereto as Exhibit 7.
        42.    The Addendum also provided:

               Except as expressly set forth in this Addendum, all terms and
               conditions of the DART Agreement not specifically modified in
               this Addendum shall remain in full force and effect in
               accordance with their original terms, as amended.
(Id. § 4).

        E.     In Breach of the Non-Compete and Related Provisions, DCJ Marketed
               And Sold Products in Direct Competition with DoubleClick
        43.    In or around 2006, DCJ contacted DoubleClick to discuss developing

technology designed for mobile websites that would be compatible with the DART

Technology. DoubleClick informed DCJ that it was already in the process of developing such

technology and allowed DCJ to participate in the early stages of development of

DoubleClick’s new mobile web technology (DoubleClick Mobile). DoubleClick Mobile was


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intended to provide an integrated solution for web content providers to extend their digital

advertising to mobile devices. The providers would now be able to create mobile web pages

and to integrate their ad services for scheduling, targeting, selecting and delivering ads on

mobile web pages and on computer web pages.

       44.       Instead of waiting for the development of DoubleClick Mobile, however, DCJ

began developing its own mobile technology, Mobile MK and Mobile MK Analytics, which it

acquired from a third party. Mobile MK and Mobile MK Analytics provide mobile web

advertising management services to mobile web content providers. According to DCJ,

Mobile MK is a marketing tool that helps mobile content providers create content, promote

their site, monitor traffic and provide cross-promotion opportunities to visitors based on their

web usage information. In other words, the Mobile MK products allow parties to measure

and enhance the effectiveness of their advertising and promotional activities targeted at

mobile web users in the much the same way that the DART Technology allows publishers

and advertisers to develop and deliver effective advertisements directed at computer web

users. Mobile MK and the DART Technology also share some common technical

functionality.

       45.       In around 2007, DoubleClick made a test copy of DoubleClick Mobile

available to DCJ. The parties then began a series of protracted discussions, lasting many

months, but ultimately DCJ failed to license DoubleClick Mobile or to sell it in Japan.

Instead, DCJ continued to develop and acquire competing technologies. In addition to Mobile

MK, DCJ developed and acquired mobile ad delivery software and a mobile marketing

technology known as Mo-on.

       46.       DCJ has been selling the DCJ Mobile Products rather than DoubleClick

Mobile. Thus, while DCJ has leveraged off the DoubleClick Japan Network and its position

as the exclusive reseller of DART Technology to sell a competing technology, it has blocked

DoubleClick from entering the Japan mobile web market with DoubleClick Mobile.

       47.       In short, DCJ’s efforts to market the DCJ Mobile Products and its refusal to

license and market DoubleClick Mobile are in direct and material breach of its express


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obligations under the 2002 DART Agreement as well as the implied covenant of good faith

and fair dealing.

       48.     In May 2008, DCJ also approached a competitor of Google, a company known

as AdMob that operates a competing mobile ad network. DCJ sought to integrate its mobile

ad systems with the AdMob’s competing ad network, and offered to promote the competing

ad network to DCJ’s Japanese customers instead of promoting DoubleClick Mobile. This, too,

was a direct breach of DCJ’s obligations under the 2002 DART Agreement.

       F.      Google’s Acquisition of DoubleClick
       49.     Pursuant to a statutory merger transaction that closed on March 11, 2008,

Google acquired DoubleClick. Effective May 1, 2008, DoubleClick merged into Google, and

Google succeeded to DoubleClick’s rights and duties under the 2002 DART Agreement and

became party to it. The 2002 DART Agreement specifically provides that it “may be

assigned by DoubleClick . . . to a person or entity who acquires substantially all of

DoubleClick’s assets, stock or business by sale, merger or otherwise.” (2002 DART

Agreement § 19).

       G.      DCJ Threatens Google With the Filing of an Application for a
               Preliminary Injunction in Japan
       50.     Since Google’s merger with DoubleClick, DCJ and Google have had

numerous discussions concerning the parties’ respective rights under the DCJ-DoubleClick

agreements. DCJ has taken an aggressive stance in these discussions seeking to bar Google

from engaging in a number of activities on the ground that Google is barred under the existing

agreements. At the same time, DCJ has also made overtures to Google in an effort to be

acquired by Google. Throughout the course of these discussions, DCJ has engaged in a

number of tactics designed to gain leverage over Google. For example, in mid-August 2008,

and in the midst of their business negotiations, DCJ provided Google with a sealed draft of an

Application for Preliminary Injunction to the Tokyo District Court (the “Japan Preliminary

Injunction Application”). The Japan Preliminary Injunction Application sought an injunction

with the following provisions:



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                 (1) The obligor DoubleClick Inc. may not let a third party to
                 enter into, or cause another third party to enter into, any license
                 agreement with a client with respect to advertisement delivery
                 services using DART Technology in Japan.

                 (2) The obligor DoubleClick Inc. may not, by itself or in
                 conjunction with a third party, distribute or sell advertisements
                 through networks using any technology identical or similar to
                 DART Technology, or plan to construct, sell or localize
                 advertisement delivery networks which use any technology
                 identical or similar to DART Technology, or negotiate for or
                 enter into any agreement on such construction, sale or
                 localization in Japan.

                 (3) The obligor Google Inc. may not provide, or cause a third
                 party to provide, advertisement delivery services using cookies
                 sent by the obligor DoubleClick Inc. in Japan.
       51.       At a meeting shortly after DCJ provided Google with a draft of the Japan

Preliminary Injunction Application, DCJ told Google that it would file the application in the

Tokyo District Court by the end of August. DCJ, however, never filed the Japan Preliminary

Injunction Application, suggesting strongly that its actions were nothing more than an attempt

to bully Google into accepting DCJ’s demands in their ongoing business negotiations.

       H.        Google Provides Notice of DCJ’s Material Breaches of the 2002 DART
                 Agreement and Google’s Intent to Terminate Absent Cure
       52.       Following its merger with DoubleClick, Google learned of DCJ’s breaches of

the 2002 DART Agreement. As a result, on October 1, 2008, Google sent a notice, pursuant

to Section 10 of the 2002 DART Agreement, advising DCJ that it was in breach of the non-

competition provisions of the agreement and that Google intended to terminate if DCJ failed
to cure such breaches (the “Notice of Breach”). A true and correct copy of the Notice of

Breach is annexed hereto as Exhibit 8. The Notice of Breach explained that:


             •   DoubleClick markets, sells, and promotes DoubleClick Mobile, which is fully
                 integrated with the DART technology.

             •   Google had learned that DCJ is marketing, selling, and promoting its own
                 mobile ad systems.

             •   Some or all of DCJ’s mobile ad systems have features such as click tracking
                 and ad performance that are materially similar to the functionality offered by
                 DoubleClick Mobile.


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             •   DCJ’s mobile ad systems compete with DoubleClick Mobile.

             •   Google also had recently learned that DCJ approached a competing mobile ad
                 network, AdMob, regarding integrating DCJ’s mobile ad systems into
                 AdMob’s competing ad network, and that DCJ offered to promote AdMob’s
                 system—and not DoubleClick’s system—to customers.

       53.       The Notice of Breach further informed DCJ that:

                 DCJ’s efforts to market, sell, operate, and promote its own
                 mobile ad systems with functionality materially similar to
                 DoubleClick Mobile is in direct breach of the non-competition
                 provisions of Section 16 of the DART Agreement and
                 constitutes a material breach of the DART Agreement. The
                 same is true for DCJ’s attempts to partner with one of
                 DoubleClick’s competitors.
                 In light of DCJ’s material breaches of the DART Agreement,
                 DoubleClick hereby provides notice of its intent to terminate
                 the DART Agreement pursuant to Section 10 thereof.

       I.        DCJ Invokes the Dispute Resolution Procedure of the 2002 DART
                 Agreement
       54.       On October 3, 2008, DCJ responded to the Notice of Breach by denying “each

and every allegation contained” in it. A true and correct copy of DCJ’s October 3, 2008 letter

is annexed hereto as Exhibit 9. DCJ claimed that the DCJ Mobile Products were not

competitive with DoubleClick Mobile:

                 Your description of DCJ’s mobile products, Moon, Mobile-Mk,
                 and Mobile MK Analytics as an “ad system” is incorrect.
                 Moon, Mobile-MK and Mobile MK Analytics are e-marketing
                 promotion solutions; they do not constitute an ad delivery
                 system and they do not compete with DoubleClick Mobile.
       55.       DCJ also contended that even if DCJ’s products were deemed competitive with

DoubleClick Mobile, the non-competition provision did not apply because (i) DCJ is not
distributing DoubleClick Mobile and (ii) DoubleClick or its affiliates are also not distributing

DoubleClick Mobile in Japan. Such an interpretation is inconsistent with a plain reading of
Section 16 of the 2002 DART Agreement. In an effort to discuss the issues with DCJ,

Google’s business people attended a meeting on October 9, 2008.
       56.       DCJ also called for a meeting in Tokyo pursuant to Section 20 of the 2002

DART Agreement and unilaterally set the date and place for the meeting for October 16, 2008


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at TCI’s offices. Google agreed to the meeting.

       J.      Google Negotiates in Good Faith With DCJ
       57.     On October 16, 2008, Emmanuel Sauquet, Google’s Director of Asia Business

Development flew from Singapore to Tokyo to meet with Yoshimitsu Nakayama, DCJ’s

President and CEO, at TCI’s offices in Tokyo, as DCJ had requested. Both parties also had

their counsel present. At the start of the meeting, Google provided DCJ with a letter

responding to DCJ’s October 3, 2008 letter. Although the parties discussed the dispute for

more than two and a half hours, they were not able to reach a resolution.

       58.     On October 23, 2008, DCJ’s outside counsel wrote to Google continuing to

deny that the DCJ Mobile Products competed with DoubleClick Mobile. A true and correct

copy of the October 23, 2008 letter is annexed hereto as Exhibit 10. Among other things,
DCJ maintained that DCJ was not competing with Google because DoubleClick Mobile was

not distributed or offered for sale in Japan, ignoring the fact that because DCJ refused to

license and sell DoubleClick Mobile, Google was prohibited from making DoubleClick

Mobile available in Japan.

       59.     Despite DCJ’s refusal to acknowledge its breaches, Google continued to

pursue resolution of the dispute in good faith. Immediately following the October 16 meeting,

Google reached out to DCJ’s senior executives and Google’s executives in Japan have made

almost daily efforts to contact DCJ to work out a resolution of their dispute. Those efforts
culminated in a meeting between Google’s and DCJ’s business people scheduled for October

30, 2008 (Tokyo time). However, unbeknownst to Google, as it was working toward a
business resolution, DCJ was preparing papers to file in court seeking injunctive relief against

Google.

       K.      DCJ’s Application for an Order Compelling Arbitration, a Temporary
               Restraining Order and a Preliminary Injunction

       60.     On October 29, 2008, DCJ filed an application in the New York State Supreme

Court and obtained ex parte an Order to Show Cause for an Order Compelling Arbitration and

for a Temporary Restraining Order and Preliminary Injunction. A true and correct copy of the


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Order to Show Cause is annexed hereto as Exhibit 11. The Order directed Google,

DoubleClick, and Google Japan, Inc.7 (the “Respondents”) to show cause why the Court

should not issue an order compelling Respondents to arbitrate under the Agreement’s Dispute

Resolution Provision, despite the fact that the earliest an arbitration could commence under

the Agreement was not until four days later, on November 3, 2008.

           61.       The Order also directed Respondents to show cause why the Court should not

issue a temporary restraining order and preliminary injunction enjoining Respondents from

terminating the 2002 DART Agreement pending arbitration. Further, in a blatant attempt at

overreaching, DCJ sought an order prohibiting Respondents:

                     (2) from failing to in good faith provide support for, or to
                     develop, DART Technology and related products and services;
                     (3) from directly or indirectly offering products and services in
                     Japan in violation of DCJ’s exclusivity and non-competition
                     rights under the Agreements, including any product or service
                     that uses DART Technology, upgrades and related products and
                     services; [and] (4) from otherwise breaching their obligations
                     under the Agreements, including by depriving DCJ of the
                     ability to sell and support the upgraded DART Enterprise 6.5
                     software.

(Order to Show Cause at 2).

           62.       A hearing was scheduled on DCJ’s Order to Show Cause for October 31, 2008.
At that hearing, Justice Charles E. Ramos of the New York State Supreme Court heard

argument from DCJ and Google. Following argument, the Court continued the hearing to a
date and time to be mutually agreed to by the parties. The continued hearing is currently

scheduled for November 17, 2008.8

           L.        Google Submits This Request for Arbitration
           63.       Despite good-faith efforts at negotiating a resolution, the parties have been


7
    Google Japan is not a party to any of the relevant agreements and was not a proper party to the court action.
8
  The Court also ordered that to the extent DCJ’s application for an injunction is denied, any termination of the 2002 DART
Agreement not take effect until 15 business days after the Court issues its ruling.


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unable to resolve their dispute in the thirty days since DCJ delivered its dispute resolution

notice. Pursuant to Section 20 of the 2002 DART Agreement, absent resolution in that thirty-

day period, an arbitration proceeding may be commenced by either party. Since DCJ

delivered the notice of a dispute on October 3, 2008, arbitration may be commenced as of

November 2, 2008.

V.      CLAIMS FOR RELIEF AND RELIEF REQUESTED

        A.     First Claim for Relief: Breach of Contract
        64.    Google and DCJ are parties to the 2002 DART Agreement, a valid and

enforceable contract. Google has fully performed its obligations thereunder.

        65.    Section 16 of the 2002 DART Agreement prohibits DCJ from directly or

indirectly, engaging in activities competitive with Google outside Japan and inside Japan.

Furthermore, in section 2 of the 2002 DART Agreement DCJ agreed “that the Service shall be

the only service used in connection with the delivery and management of advertising by

[DCJ] through the DoubleClick Japan Network. . .” Section 3 of the 2002 DART Agreement

further provides that DCJ is “required to use DoubleClick’s proprietary System in order to

receive the Service.”

        66.    DCJ has willfully and materially breached Section 16 of the agreement, as well

as its related obligations contained in sections 2 and 3 of the 2002 DART Agreement.

        67.    Rather than license and distribute DoubleClick Mobile, a mobile ad system

fully integrated with the DART service, system and technology, DCJ has marketed, sold and

promoted its own competing mobile ad systems. DCJ Mobile Products contain functionality

that is materially similar to, and therefore competitive with, that found in DoubleClick Mobile,

Google’s mobile web ad system.

        68.    In addition, upon information and belief, DCJ approached AdMob, a mobile ad

network that is competitive with DoubleClick Mobile, seeking to establish a business

relationship using AdMob’s competitive software. DCJ sought to integrate DCJ’s mobile ad

systems with AdMob’s competitive ad network, and offered to promote AdMob’s competitive

ad network to DCJ’s Japanese customers instead of promoting DoubleClick Mobile and the


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DART Technology.

        69.     As a result of DCJ’s willful and material breaches, Google has lost business

opportunities to market, sell and promote DoubleClick Mobile to DCJ’s clients in Japan,

while DCJ has wrongly profited from its improper sales of the competing DCJ Mobile

Products to its customers.

        70.     Accordingly, Google requests an award of damages directly and proximately

caused by DCJ’s breached, together with the maximum interest under the law.

        B.      Second Claim for Relief: Breach of Implied Covenant of Good Faith and
                Fair Dealing
        71.     Under New York law, every contract has an implied covenant of good faith

and fair dealing, which prevents a party from destroying or injuring the other party’s right to

receive the fruits of the contract.

        72.     In light of the exclusivity and non-competition provisions of the 2002 DART

Agreement, Google had a reasonable expectation that DCJ would not engage in sales or

marketing efforts competitive with the DART Technology, including DoubleClick Mobile.

Google also had a reasonable expectation that DCJ would not use the DoubleClick Japan

Network and the contacts it has acquired through that network to engage in actions

competitive with Google. Google also had a reasonable expectation that DCJ would license

and sell DoubleClick Mobile.

        73.     DCJ has wrongfully exploited the relationships it has acquired as an exclusive
DART licensee to promote and sell a mobile web technology that competes with DoubleClick

Mobile while effectively blocking Google from introducing DoubleClick Mobile into the
Japan market.

        74.     DCJ has also engaged in conduct designed solely to harm Google in an effort
to increase DCJ’s negotiating leverage with Google.

        75.     DCJ’s wrongful and bad faith conduct has deprived Google of the benefits it

reasonably expected to receive under the 2002 DART Agreement. As a result of DCJ’s

conduct, Google has lost business opportunities to market, sell and promote DoubleClick



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Mobile to DCJ’s clients in Japan, while DCJ has wrongly profited from its improper sales of

the competing DCJ Mobile Products to its customers.

       76.     Accordingly, Google requests an award finding that DCJ has materially

breached the implied covenant of good faith and fair dealing and an award of damages

directly and proximately caused by DCJ’s breach, together with the maximum interest under

the law.

       C.      Third Claim for Relief: Injunctive Relief
       77.     Pursuant to section 10 thereof, the 2002 DART Agreement can be terminated

thirty business days after delivering notice that a party is in material breach of the agreement,

provided that the party fails to cure the breach. Google sent notice of breach to DCJ on

October 1, 2008. November 14, 2008 is the thirtieth business day after October 1, 2008.

Accordingly, under the terms of the 2002 DART Agreement, absent cure by DCJ, Google

may terminate the agreement on or after November 17, 2008, the first business day after

November 14, subject to the fifteen-day extension ordered by the New York State Supreme

Court (supra n. 8).

       78.     Upon termination of the 2002 DART Agreement, DCJ shall no longer be

licensed or authorized to market or sell the DART Technology services, systems or products.

       79.     DCJ has refused to acknowledge Google’s right to terminate the 2002 DART

Agreement and has actively sought to prevent Google from terminating the agreement. DCJ

has also demonstrated intent not to abide by a termination of the 2002 DART Agreement.

       80.     Google will suffer irreparable harm if DCJ continues to exercise rights under

the 2002 DART Agreement upon termination, for which monetary damages can not provide

an adequate remedy. Google will suffer substantial harm to its intellectual property, its

reputation, a loss of goodwill in the marketplace, and a competitive disadvantage if DCJ is

allowed to continue to enjoy its rights under the 2002 DART Agreement, such as marketing

and selling the DART Technology, after that agreement is terminated.

       81.     Accordingly, Google requests an award preliminarily and permanently

enjoining DCJ from continuing to exercise any rights under the 2002 DART Agreement upon


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